            Case 4:25-cv-00476-MWB
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                                                                   a crime. Although he was willing to admit that he engaged
                    2022 WL 4533850                                in sexual relations with his wife, who was a minor child at
      Only the Westlaw citation is currently available.            the time, he was unwilling to admit that that conduct was
       United States Court of Appeals, Third Circuit.              illegal. Robins maintained that the program's admission-of-
                                                                   guilt requirement violated his constitutional and statutory
               Johnathan ROBINS, Appellant                         rights because he would only become eligible for parole if he
                           v.                                      falsely confessed and made derogatory statements about his
  Secretary John E. WETZEL, Department of Corrections;             marriage.
      Superintendent Salamon; Supervisor Tice; Unit
                                                                   Robins initially filed a deficient request to proceed in forma
    Manager Condo; Counselor Williams; Coordinator
                                                                   pauperis, but he ultimately paid the filing fee instead of
   Damico; Pennsylvania Parole Board; District Attorney
                                                                   submitting a proper application. Before the complaint was
     Krasner; Philadelphia District Attorney's Office              served, the District Court screened the action under 28 U.S.C.
                                                                   §§ 1915A and 1915(e) and dismissed it as legally frivolous
                          No. 22-1006
                                                                   under § 1915(e). Robins now appeals.
                                |
                  Submitted Pursuant to Third
               Circuit LAR 34.1(a) June 21, 2022
                                |                                                                 II.
              (Opinion filed: September 28, 2022)
                                                                   We have jurisdiction pursuant to 28 U.S.C. § 1291 and we
On Appeal from the United States District Court for the            exercise plenary review over a District Court's sua sponte
Middle District of Pennsylvania (D.C. Civil Action No. 3:21-       dismissal of a complaint under §§ 1915A and 1915(e). 1
cv-01474), District Judge: Honorable Malachy E. Mannion            Dooley v. Wetzel, 957 F.3d 366, 373 (3d Cir. 2020). Under
                                                                   § 1915A, district courts must review “a complaint in a civil
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                                                                   action in which a prisoner seeks redress from a governmental
Johnathan Robins, Bellefonte, PA, Pro Se.                          entity or officer or employee of a governmental entity.” See 28
                                                                   U.S.C. § 1915A(a). If the complaint “is frivolous, malicious,
Before: RESTREPO, PHIPPS and RENDELL, Circuit Judges               or fails to state a claim upon which relief may be granted,”
                                                                   the Court must dismiss it. See § 1915A(b)(1). A complaint is
                                                                   frivolous if it relies on an indisputably meritless legal theory
                                                                   or a clearly baseless factual scenario, Mitchell v. Horn, 318
                         OPINION *
                                                                   F.3d 523, 530 (3d Cir. 2003), and it fails to state a claim
PER CURIAM                                                         when it lacks sufficient factual matter to state a claim to relief
                                                                   that is plausible on its face, Ashcroft v. Iqbal, 556 U.S. 662,
 *1 Johnathan Robins, an inmate proceeding pro se, appeals         678 (2009). As a pro se litigant, Robins is entitled to liberal
from the District Court's order dismissing his complaint. We       construction of his complaint. See Erickson v. Pardus, 551
will affirm in part and vacate and remand in part.                 U.S. 89, 94 (2007) (per curiam).



                               I.                                                                 III.

In August 2021, Robins brought this civil rights action             *2 Robins raised a variety of constitutional and statutory
under 42 U.S.C. § 1983, alleging violations of his rights          claims, which we address seriatim. First, Robins alleged
to due process, equal protection, and the free exercise            that the admission-of-guilt requirement violated his equal
of religion, related to his participation in a sex offender        protection rights. According to Robins, the privilege of parole
treatment program. Specifically, Robins alleged that the sex       must be fairly available to all offenders, and the Department
offender treatment program facilitated by the Department of        of Corrections’ policy requiring an admission of guilt in its
Corrections, whose completion was a prerequisite for parole        sex offender treatment program made parole unavailable to
eligibility, required him to falsely admit that he was guilty of   individuals convicted of sex offenses who believed they were


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                                                                   outweighed by the cost.” Id. Further, to the extent that
innocent. We agree with the District Court's determination
                                                                   this claim implicates the Eight Amendment, requiring an
that this claim was indisputably meritless. Because Robins
                                                                   admission of guilt, even falsely, did not deprive Robins of “the
has not alleged membership in a protected class, 2 his equal
                                                                   minimal civilized measure of life's necessities.” See Farmer
protection claim must be premised on a “class-of-one” theory,
                                                                   v. Brennan, 511 U.S. 825, 834 (1994). 5
which requires him to allege, at a minimum, “that he was
intentionally treated differently from others similarly situated
                                                                    *3 Robins also alleged that the admission-of-guilt
by the defendant and that there was no rational basis for
                                                                   requirement violated his constitutional and statutory rights to
such treatment.” Phillips v. Cnty. of Allegheny, 515 F.3d 224,
                                                                   the free exercise of religion. According to Robins, marriage
243 (3d Cir. 2008). Robins alleged that he, as a sex offender
                                                                   was a sacred tenet of his religion, and he could not admit
who refused to admit guilt in his required programming,
                                                                   the illegality of his sexual conduct, which he construed as
was treated differently from other types of offenders who
                                                                   denouncing his religious marital vows, without violating his
were not required to admit guilt in their programming.
                                                                   religious beliefs. The District Court did not address these
However, Robins was not similarly situated to offenders who
                                                                   claims in its memorandum, and it dismissed the entirety of the
were convicted of different crimes and subject to different
                                                                   complaint without leave to amend.
programming requirements, and there is a rational basis
for requiring different treatment for different categories of
                                                                   To the extent that this allegation is based on the First
offenders. Accordingly, this claim lacks merit. 3
                                                                   Amendment, it is facially meritless. This Court has
                                                                   recognized that states “have a vital interest in rehabilitating
Robins also alleged that he was denied due process because
                                                                   convicted sex offenders and acceptance of responsibility for
his unwillingness to admit guilt (and, consequently, his failure
                                                                   past offenses is a critical first step in a prison's rehabilitation
to adequately complete the program's requirements) meant
                                                                   program for such offenders,” and, on that basis, has declined
he was denied the opportunity to appear before the parole
                                                                   to find First Amendment violations where sex offenders are
board. This claim was also properly dismissed as frivolous,
                                                                   required to admit guilt, even where the offender believes such
because Robins lacks a cognizable liberty interest in receiving
                                                                   an admission is false. Newman v. Beard, 617 F.3d 775, 781
a parole interview. To obtain a protectible right, an individual
                                                                   (3d Cir. 2010) (cleaned up).
must have a legitimate claim of entitlement to the subject of
the deprivation, more than a mere abstract need or desire for
                                                                   However, this Court has not had occasion to consider an
it or a unilateral expectation of it. Greenholtz v. Inmates of
                                                                   acceptance-of-responsibility component of a sex-offender
Nebraska Penal & Corr. Complex, 442 U.S. 1, 7 (1979). There
                                                                   treatment program in the context of RLUIPA or RFRA. Given
is “no constitutional or inherent right of a convicted person
                                                                   the lack of controlling precedent and the District Court's
to be conditionally released before the expiration of a valid
                                                                   failure to address this claim, we will vacate its sua sponte
sentence.” Id.; see also Burkett v. Love, 89 F.3d 135, 139 (3d
                                                                   dismissal and remand for the District Court to address the
Cir. 1996) (explaining that “no liberty interest is created by
                                                                   RLUIPA and RFRA claims in the first instance, allowing for
the expectation of parole”).
                                                                   amendment of the complaint as it deems appropriate. 6
Robins also argued that requiring him to admit guilt, which
he perceived as denigrating his marriage, was coercive and
constituted an atypical hardship that could be viewed as a                                        IV.
                         4
form of mental torture. However, requiring an admission
                                                                   Accordingly, we will affirm in part, vacate in part, and remand
of guilt in a sex offender treatment program in order to be
                                                                   for further proceedings consistent with this opinion.
eligible for parole does not violate the Fifth Amendment.
Roman v. DiGuglielmo, 675 F.3d 204, 214 (3d Cir. 2012).
“[A] state may offer an incentive for participation in such        All Citations
rehabilitative programs—here, the opportunity for early
release—without obligating itself to reward an inmate who          Not Reported in Fed. Rptr., 2022 WL 4533850
chooses not to participate because he considers that reward




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                                                      Footnotes


*      This disposition is not an opinion of the full Court and pursuant to I.O.P. 5.7 does not constitute binding
       precedent.

1      Robins argues on appeal that the District Court improperly screened his complaint under § 1915(e), which
       was inapplicable because he was not proceeding in forma pauperis. But while § 1915(e) applies only to
       prisoners proceeding in forma pauperis, Grayson v. Mayview State Hosp., 293 F.3d 103, 110 n. 10 (3d Cir.
       2002), § 1915A applies even to prisoners who have paid their filing fees. See, e.g., Shakouri v. Davis, 923
       F.3d 407, 410 (5th Cir. 2019) (explaining that, regardless of the applicability of § 1915(e), courts must still
       screen claims brought a by prisoner against an employee of a governmental entity pursuant to § 1915A).

2      Being designated a sex offender does not qualify as membership in a “protected class” for equal protection
       purposes, as that designation is reserved for categories such as race, religion, or gender. See City of
       Cleburne, Tex. v. Cleburne Living Ctr., 473 U.S. 432, 440-41 (1985) (discussing protected classes); Cutshall
       v. Sundquist, 193 F.3d 466, 482 (6th Cir. 1999) (explaining that convicted sex offenders are not a suspect
       class).

3      Moreover, while Robins is correct that “a state statute may not sanction totally arbitrary parole decisions
       founded on impermissible criteria,” Burkett, 89 F.3d at 139, the Pennsylvania statute requiring the completion
       of sex offender programming as a prerequisite to parole eligibility, 42 Pa. C.S.A. § 9718.1(b), does not
       sanction totally arbitrary parole decisions, nor is it founded on impermissible criteria such as race, religion,
       gender, or ethnic background. Rather, the requirement applies to all offenders as defined in 42 Pa. C.S.A.
       § 9718.1(a) and furthers the legitimate penological objective of rehabilitation. See McKune v. Lile, 536 U.S.
       24, 36–37 (2002).

4      To the extent that this “mental torture” claim relates to a claim of mental or emotional injury, such a claim may
       not be brought by a prisoner while in custody absent a showing of physical injury. See 42 U.S.C. § 1997e(e).
       Robins has made no such showing.

5      The District Court also properly dismissed Robins's claim that prison employees made disrespectful
       comments about his marriage, as that claim was not actionable under § 1983. See, e.g., McBride v. Deer,
       240 F.3d 1287, 1291 n. 3 (10th Cir. 2001) (explaining that “acts or omissions resulting in an inmate being
       subjected to nothing more than threats and verbal taunts do not violate the Eighth Amendment”); Beal v.
       Foster, 803 F.3d 356, 358 (7th Cir. 2015) (explaining that “most verbal harassment by jail or prison guards
       does not rise to the level of cruel and unusual punishment”).

       Robins also alleged that defendants discriminated against him on the basis of age because they were biased
       against his “May-December marriage.” While it appears that the District Court neglected to consider this
       claim, this claim is facially meritless: the Pennsylvania criminal code, not defendants, criminalized Robins's
       sexual relationship with a minor. To the extent that Robins reframes this claim on appeal as a violation of
       his First Amendment right to privacy, this Court need not consider it, as it was not raised in the District
       Court. Singleton v. Wulff, 428 U.S. 106, 120 (1976). For the same reasons, this Court need not consider
       Robins's new argument that the admission-of-guilt requirement violates his First Amendment right to freedom
       of thought. Id.

       Additionally, Robins alleged that documents in his record erroneously reflect that he was found guilty of
       involuntary deviate sexual intercourse (IDSI) by forcible compulsion, rather than his actual conviction of IDSI
       with a complainant who was less than 16 years of age and to whom he was not married at the time. This
       claim was subject to dismissal under § 1915A, as Robins failed to state how this error deprived him of a
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               constitutional     Reuters.right.
                              or statutory  No claim to original
                                                 See Kach        U.S.589
                                                           v. Hose,   Government
                                                                         F.3d 626, Works.                           3
                                                                                   646 (3d Cir. 2009) (explaining that,
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       to state a claim under § 1983, a plaintiff must establish that he or she was deprived of a federal constitutional
       or statutory right by a state actor). And to the extent that he frames this claim as a due process violation
       on appeal, even setting aside the general rule that a federal appellate court does not consider an issue not
       passed upon below, Singleton, 428 U.S. at 120, he has not provided copies of the documents he believes
       to be incorrect or anything beyond his own assertions to suggest any error. “As this argument was vaguely
       presented without factual or legal support, it is forfeited for lack of development.” New Jersey Dep't of Env't
       Prot. v. Am. Thermoplastics Corp., 974 F.3d 486, 493 n. 2 (3d Cir. 2020).

6      “This court has consistently held that when an individual has filed a complaint under § 1983 which is
       dismissable [sic] for lack of factual specificity, he should be given a reasonable opportunity to cure the defect,
       if he can, by amendment of the complaint.” Shane v. Fauver, 213 F.3d 113, 116 (3d Cir. 2000); see also
       Grayson, 293 F.3d at 111 (explaining that “plaintiffs whose complaints fail to state a cause of action are
       entitled to amend their complaint unless doing so would be inequitable or futile”).



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